       Case 1:22-cr-00015-APM           Document 906       Filed 11/04/24       Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *   Case No.: 22-15-APM
THOMAS E. CALDWELL                                *
           *      *      *      *      *      *       *     *      *        *        *
           CALDWELL’S SUPPLEMENTAL SENTENCING MEMORANDUM

           COMES NOW, the defendant, Thomas E. Caldwell (“Caldwell”), by and through

counsel, David W. Fischer, Esq., and files this supplemental memorandum to aid the

Court in sentencing. Caldwell previously filed a Memorandum in Aid of Sentencing,

(ECF No. 563), on May 5, 2023.

      I.        Additional Objections to the PSR

           Per the Court’s instruction, the United States Probation Office filed a

Memorandum dated September 17, 2024 (hereinafter “Memo”) setting forth renewed

findings regarding Caldwell’s potential sentencing guidelines. As the Government, in

light of United States v. Fischer, 144 S. Ct. 2176 (2024), is not opposing Caldwell’s

pending Rule 29 reconsideration motion for judgment of acquittal as to Count 3 of the

Indictment, Caldwell will note objections only as to the PSR’s calculations as to the

remaining count, Count 13, which involves evidence tampering.

           A. Caldwell qualifies as a Zero-Point Offender

           Caldwell objects to the Probation Officer’s determination that he does not qualify

                                                  1
      Case 1:22-cr-00015-APM         Document 906       Filed 11/04/24     Page 2 of 6




as a Zero-Point Offender pursuant to U.S.S.G. §4C1.1(a). (Memo at ¶14). First,

Caldwell has no prior criminal history. Second, none of the eleven disqualifiers set forth

in §4C1.1(a) for receiving a Zero-Point Offender reduction apply to Caldwell’s

conviction for evidence tampering, which was alleged to have occurred several days after

January 6. Accordingly, Caldwell should receive a 2-level reduction in his Offense

Level for being a Zero-Point Offender.



       B. Caldwell objects to a 2-level increase under U.S.S.G. §2J1.2(b)(3)(B)

       Caldwell objects to the Probation Officer’s finding that he qualifies for a 2-level

increase in his Offense Level based upon U.S.S.G. §2J1.2(b)(3)(B), which applies “[if]

the offense . . . (B) involved the selection of any essential or especially probative record,

document, or tangible object, to destroy or alter[.]” U.S.S.G. §2J1.2(b)(3)(B) (emphasis

added). Caldwell disputes that his selfies taken at the Capitol with his wife were

“essential or especially probative” of anything. Caldwell’s deleted photos simply proved

the obvious—that he was at the Capitol on January 6. They depicted no violence, no

assaults on police, and no Oath Keepers. Caldwell fully admitted to the FBI, subsequent

to his arrest, that he was at the Capitol, which suggests he had no motive to hide his

whereabouts. Additionally, it was common knowledge that the Capitol grounds were

saturated with security cameras. That Caldwell, at the time of his arrest, possessed at

least two backup copies of all of the deleted photographs on his phone and hard drive

further proves that the deleted photos were not “essential or especially probative.”


                                              2
      Case 1:22-cr-00015-APM        Document 906       Filed 11/04/24    Page 3 of 6




       Similarly, the “unsent” video to Donovan Crowl was neither “essential or

especially probative.” In fact, the video—actually a “link” to a website—had already

been viewed by the FBI days before it was unsent. Further, as noted in prior filings, the

video did not show Caldwell or any Oath Keepers entering the Capitol. The government

in discovery has produced dozens of cell phone videos, CCTV videos from the Capitol,

and other videos depicting the events on the east side of the Capitol, which hardly makes

a video segment produced by a media outlet “essential or especially probative.”

Moreover, as noted in previous filings, Caldwell’s recovered Facebook records contained

this video link (in threads with Caldwell’s other contacts), and he had previously texted

this same link/video to Crowl, who never deleted it.

       In short, what Caldwell allegedly deleted/unsent was not “essential” because he

retained copies of the same items on his phone, computer, hard drive, and Facebook

records. And the deleted/unsent items were not exactly akin to throwing a murder

weapon in the river and, thus, were neither essential nor “especially probative.” The

jury, importantly, did not find the deleted/unsent items particularly probative. The

deleted/unsent items were introduced by the government to the jury, which subsequently

acquitted Caldwell on all conspiracy counts. Apparently, the jury had its doubts about

how probative the deleted/unsent items were vis-à-vis Caldwell’s alleged connection to a

conspiracy. Accordingly, Caldwell should not receive a 2-level increase pursuant to

§2J1.2(b)(3)(B).




                                             3
      Case 1:22-cr-00015-APM          Document 906       Filed 11/04/24     Page 4 of 6




     II.    Caldwell recently underwent spinal neck fusion surgery

       In addition to Caldwell’s numerous, documented medical ailments, the Court

should be advised that Caldwell, on October 22, 2024, underwent spinal fusion surgery

on his neck and is currently recuperating at home. Undersigned counsel is currently in

the process of gathering medical documentation to provide to the Court in a timely

fashion. Respectfully, a sentence that includes incarceration would be inappropriate

based upon Caldwell’s recent fusion surgery and his status as a 100% service-connected

disabled veteran.



     III.   Conclusion

       Caldwell’s final Offense Level should be Level 12, as his Base Offense Level (14)

should be reduced by 2 levels based upon his status as a Zero-Point Offender.

Accordingly, Caldwell’s Guidelines range for incarceration is 10-16 months and falls

within Zone C of the sentencing table. The Court should also consider downward

departures for Caldwell’s age (70), compromised physical condition, and prior military

service. See U.S.S.G. §§5H1.1, 5H1.4, and 5H1.11.

       Caldwell’s medical ailments, his status as a Zero-Point Offender, his full acquittal

on January 6-related conspiracy counts at a time when D.C. juries had not acquitted a

single defendant of a single count (65-0), his perfect performance while on pretrial

release, and his military service that resulted in a lifetime of debilitating injuries suggest

that a sentence of time-served (53 days) is appropriate.
                                               4
Case 1:22-cr-00015-APM   Document 906   Filed 11/04/24   Page 5 of 6




                                   Respectfully submitted,

                                             /s/
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                               5
      Case 1:22-cr-00015-APM       Document 906      Filed 11/04/24      Page 6 of 6




                            CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 4th day of November, 2024, a copy of the
foregoing Caldwell’s Supplemental Sentencing Memorandum was electronically filed
with the Clerk of the United States District Court using CM/ECF, with a notice of said
filing to the following:

Counsel for the Government:              Kathryn Rakoczy, AUSA
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                                         555 4th Street, NW
                                         Washington, DC 20001

                                                        /s/
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                                            6
